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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

CIERRA WATKINS,

       Plaintiff,

v.                                                        Case No: 8:18-cv-2370-T-30JSS

ONEMAIN FINANCIAL GROUP, LLC,

       Defendant.


                                ORDER OF DISMISSAL

       Before the Court is the Notice of Voluntary Dismissal Without Prejudice (Dkt. 18).

Upon review and consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.     This cause is dismissed without prejudice, each party to bear their own costs

and attorneys’ fees.

       2.     All pending motions, if any, are denied as moot.

       3.     The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 13th day of December, 2018.




Copies furnished to:
Counsel/Parties of Record
